Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 1 of 27 PageID# 2685




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

                                                      )
UNITED STATES OF AMERICA
                                                      )
               v.                                     )         The Honorable Liam O’Grady
                                                      )
KIM DOTCOM, et al.,                                   )
                                                      )         Criminal No. 1:12-CR-3
       Defendants                                     )
                                                      )

[PROPOSED] RESPONSE OF DEFENDANT MEGAUPLOAD LTD SUPPORTING AND
SUPPLEMENTING THE RENEWED MOTION FOR PROTECTIVE ORDER BY NON-
PARTY QTS/CARPATHIA HOSTING, INC. RE MEGAUPLOAD SERVER EVIDENCE

1.     Introduction

       Defendant Megaupload Ltd. (“Megaupload”) (owner of some data at stake herein, legal

custodian of third-party data, and named but not served as a criminal defendant in these

proceedings) seeks leave of Court to specially appear for the limited exigent purpose of

responding to the instant “renewed” motion [D.E. 217-218] that will determine the preservation

or destruction of crucial defense evidence stored on servers formerly leased from Carpathia (now

“QTS”).1 The Court granted leave to specially appear and oppose the original motion [D.E. 87].

       It is well-settled the Due Process Clause “standard of fairness” requires that “criminal

defendants be afforded a meaningful opportunity to present a complete defense.” California v.

Trombetta, 467 U.S. 479, 485 (1984). To that end, it is equally well-settled that “the government

has a duty to preserve evidence that possesses ‘an exculpatory value that was apparent before the

evidence was destroyed’ where ‘the defendant would be unable to obtain comparable evidence

by other reasonably available means.’” United States v. Newsome, 322 F.3d 328, 334 (4th Cir.

1
  Megaupload reserves all rights regarding the failure of criminal service and to renew its motion
to dismiss and nothing herein shall act as a waiver of such rights.
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 2 of 27 PageID# 2686




2003) (quoting Trombetta, 467 U.S. at 489). In such circumstances, the Government may have a

duty “to take affirmative steps to preserve evidence on behalf of criminal defendants,” even

where the evidence is not already (or not still) in the government’s control. See Trombetta, 467

U.S. at 486. In this action, Megaupload respectfully submits that the Government has a

constitutional duty to preserve the “Carpathia Servers” as potentially exculpatory evidence that

“might be expected to play a significant role” in the defense against the crimes alleged in the

Superseding Indictment.

       Moreover, since the original motion concerning these servers was filed, as discussed

below, the Government filed a civil forfeiture action implicating the broad electronically stored

information (“ESI”) preservation and eDiscovery cooperation mandates of the Federal Rules of

Civil Procedure.2 The duty to preserve and cooperate in ESI preservation to prevent destruction

begins not when litigation begins but when it was reasonably anticipated by the Government that

it might occur. Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 218 (S.D.N.Y. 2003); The

Pension Committee of the University of Montreal Pension Plan, et al. v. Banc of America

Securities LLC, et al., Amended Order, Case No. 05-cv-9016, 2010 U.S. Dist. LEXIS 4546, 2010

WL 184312 (S.D.N.Y. Jan. 15, 2010). The forfeiture civil action in combination with private

civil copyright lawsuits related before this court act as an additional and separate basis on which

Megaupload requests to be specially heard as an interested party in this proceeding. Megaupload




2
  The civil forfeiture action will continue on regardless of the outcome of the pending appeal
and the Megaupload server data will be important evidence from non-infringement to lack of
tracing and is vital to the litigants defending their property rights. The Government, which is
supposed to be a model litigant, must avoid taking steps to actively interfere with data
preservation and avoid destruction of highly relevant ESI. See, e.g., The Sedona Conference®
Cooperation Proclamation: Resources For The Judiciary
(https://thesedonaconference.org/cooperation-proclamation)

                                               -2-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 3 of 27 PageID# 2687




requests preservation of the Megaupload server data, which is important evidence in all the

related cases.

       A criminal defendant’s rights to present evidence, to confront witnesses and to obtain

discovery are essential to a fair trial. Forfeiture alleged in this case in the Superseding

Indictment [Dkt. 34, ¶¶ 106-116] was adjudged and ordered in Civil Action No.: I: I 4-cv-969,

presently on appeal. Civil proceedings impose further requirements on preservation of evidence.

       In this novel and complex case, the Government appears determined to prevent

defendants from having a fair trial and appears determined to deprive defendants of due process

rights protected by the United States Constitution. Distilled to its essence, the Government

removed Megaupload’s server data from Megaupload’s control, will not give it back, and has

taken active steps to prevent preservation of the data for use by Megaupload in its own defense.

       Non-Party QTS/Carpathia confirms this in their renewed motion. The Government has

controlled events for the manifest purpose of seeing such evidence destroyed in a case it has

described as one of “the largest criminal copyright cases ever brought by the United States.”3

       Defendants submit that, unless the Court acts to preserve the Megaupload server

evidence, the integrity of the criminal case and related proceedings will be irreversibly

undermined.

        The Court is familiar with the facts. On January 19, 2012, the Government executed

search warrants as to Defendants at numerous locations around the world, including at




3
 Press Release, U.S. Department of Justice, Justice Department Charges Leaders of Megaupload
with Widespread Online Copyright Infringement (Jan. 19, 2012), http://www.justice.gov/
opa/pr/2012/J anuary/12-crm-07 4.html.

                                                -3-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 4 of 27 PageID# 2688




Carpathia's server-hosting facility in the Eastern District of Virginia.4 On January 27, 2012, the

Government informed Megaupload that it had "copied selected Mega Servers and copied

selected data from some of the other Mega Servers," without identifying specific data or

selection criteria. [D.E. 32]. The Government expressly disclaimed any possession, custody or

control over the Mega Servers.5

       Ensuing events contradicted Government disclaimers of control over the Mega server.

On March 20, 2012, Non-party Carpathia Hosting Ltd. filed its Emergency Motion for Protective

Order, which is renewed herein. [D.E. 38-39.] On March 30, 2012, Non-party Kyle Goodwin,

represented by the Electronic Frontier Foundation, sought to appear to obtain access to files

backed up on the Megaupload servers, which he needed because his hard drive had crashed.

[D.E. 51-52.] Plaintiffs in related civil suits also appeared. [D.E. 53-55, 80.] The Government

opposed Carpathia’s Motion. [D.E. 56.] After Megaupload filed papers [D.E. 67], the

Government filed a response thereto. [D.E. 76.]

       Evidence showed that Megaupload and Carpathia had reached an agreement for

Megaupload to purchase the servers from Carpathia for $1,465,500 with payment deferred until

final disposition of the criminal case against Megaupload. [D.E. 67, Exhibit C, ¶¶ 1.3, 1.4.]

The deal would have given the Megaupload defense team cheap and easy access to the all server

4
 The DOJ seized Megaupload data in the Netherlands at the Leaseweb facility and that data has
been destroyed. Megaupload will be further seriously prejudiced if the data at issue is also
destroyed because there is no other source for comparable data.
5
  The Government while closely in time actively blocking the “free” transfer of the servers for
litigation preservation from Carpathia to Megaupload proclaimed “The Mega Servers are not in
the actual or constructive custody or control of the United States, but remain at the premises
controlled by, and currently under the control of, Carpathia and Cogent. Should the defendants
wish to obtain independent access to the Mega Servers, or coordinate third-party access to data
housed on Mega Servers, that issue must be resolved directly with Cogent or Carpathia.” [Letter
of Department of Justice to Defendants’ attorneys quoted in Carpathia’s prior Rebuttal
Memorandum [Dkt. 70] at 7-8.]

                                                -4-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 5 of 27 PageID# 2689




data evidence and would have substantially alleviated evidentiary and due process issues in both

the civil and criminal cases. As stated by Carpathia, the agreement was: “a much less expensive

alternative than Mega making its own image of the servers. … The government objected to that

sale, apparently for the reasons described in its response brief: ‘The government … is

additionally concerned because it has not seen any detailed plans for appropriately transferring

the Carpathia Servers to an entity that demonstrates reasonable and untainted resources for that

purpose, provides sufficient safeguards regarding access, successfully deals with the specific

concerns of victims, and deals appropriately with the contraband and other illegitimate files on

the Carpathia Servers.’ (Govt Br. at n. 3). ” (Carpathia Rebuttal Memo [D.E. 70 at 7-8] quoting

from D.E. 56.)

       The Government’s stated concerns about safeguards, etc., were not based on fact.

Contrary to Government objections, Megaupload wanted the servers to be preserved “ under a

litigation hold.” Defense counsel and consultants would have “exclusive access to the Mega

data hosted on the Mega servers” and “[a]ll uses of the data . . . [would] be for purposes of

assisting Mega and co-defendants in criminal or civil litigation.” Defendants proposed that

“consumer access to server content shall be prohibited and allowed only on such terms as shall

be ordered by a UnitedStates District Court or agreed to in writing signed by the US

Attorney's Office,” and that “No electronically stored materials may be materially altered,

wiped, deleted, or destroyed in any manner.” [D.E. 67, Exhibit D.]

       A hearing on the matter was held on April 13, 2012. [D.E. 86, 84, 87.] The Court

ordered the parties to meet and confer in front of a magistrate judge and to report in two weeks if

the matter was not resolved. [D.E. 87.] Resolution not having been achieved and a new Motion

for Return of Property/Pre-Trial having been filed by Non-party Goodwin [D.E. 90-91], a second



                                               -5-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 6 of 27 PageID# 2690




hearing was scheduled for June 29, 2012, which led to further briefing. [D.E. 92, 98, 99, 105,

110.]

        Thereafter, on October 2, 2012, the Court ruled that “the Court finds that it is unable to

reach a conclusion as to this matter without an evidentiary hearing.” The Court ordered briefing

and stated that: “The Court will consider the parties filings and designate a date for the hearing

thereafter.” [D.E. 126, see also D.E. 130, extending time for briefing.] Further motions, briefs

and documents were filed. [D.E. 131, 133-136, 139-141, 144, 149, 153, 155, 157-158, 161-164,

168-170, 174-189.]

        In the meantime on or about February 1st 2013 the Government permitted the

Megaupload server data located in the EU at Leaseweb in the Netherlands to be destroyed.

Megaupload advised Judge Anderson of the development, see letter of July 3, 2013, attached

hereto as Exhibit A, and asked to reconvene the meet and confer meetings ordered by the Court

on April 18, 2012 [D.E. 87.] in order to preserve the server data located at Carpathia. The United

States declined any meet and confer on data preservation.

        On July 29, 2014, the Government filed a civil forfeiture action targeting all the revenues

and user conduct arising out of Megaupload’s global cloud storage services including revenues

arising out of the server data evidence in the Netherlands and revenues arising out of the server

data evidence in the United States.

        No hearing on the server data preservation matter was scheduled until QTS/Carpathia

filed the instant renewal Motion. Defendants again request that the Court intervene and permit

the transfer of the Megaupload servers in a manner and method that preserves the integrity of the

data such that it can be used in the civil and criminal case and to preserve the integrity of due

process.



                                                -6-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 7 of 27 PageID# 2691




                                            ARGUMENT

I.    As a Matter of Fact, the Government Seized Control of Megaupload’s Data in
January 2012 and Has Never Relinquished Control. Having Blocked Preservation of the
Evidence, the Government Cannot Disclaim Control Under Rule of Criminal Procedure 16.

       The evidence shows that, as a matter of practical fact, the Government seized control of

the Carpathia Servers and the Megaupload data in January 2012 and has never relinquished

control. During prior proceedings, the Government exercised its control power to exclude

Megaupload and its counsel from the server data. It is anticipated that the Government will

continue to assert such control in opposing this motion.

       A.      Due Process Considerations

       It is well-settled the Due Process Clause “standard of fairness” requires that “criminal

defendants be afforded a meaningful opportunity to present a complete defense.” California v.

Trombetta, 467 U.S. 479, 485 (1984). To that end, it is equally well-settled that “the government

has a duty to preserve evidence that possesses ‘an exculpatory value that was apparent before the

evidence was destroyed’ where ‘the defendant would be unable to obtain comparable evidence

by other reasonably available means.’” United States v. Newsome, 322 F.3d 328, 334 (4th Cir.

2003) (quoting Trombetta, 467 U.S. at 489). The test for a duty to preserve evidence is whether

the “evidence that might be expected to play a significant role in the suspect’s defense.”

Trombetta, 467 U.S. at 488. To meet this standard of constitutional “materiality” the evidence

“must both possess an exculpatory value that was apparent before the evidence was destroyed,

and be of such a nature that the defendant would be unable to obtain comparable evidence by

other reasonably available means.” Id. at 489. In such circumstances, the Government may have

a duty “to take affirmative steps to preserve evidence on behalf of criminal defendants,” even

where the evidence is not already (or still) in the government’s control. See id. at 486. In this



                                                -7-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 8 of 27 PageID# 2692




action, Megaupload respectfully submits that the Government has a constitutional duty to

preserve the Carpathia Servers as potentially exculpatory evidence that “might be expected to

play a significant role” in the defense against the crimes alleged in the Superseding Indictment.

       This case contrasts with Newsome, in which the Government’s failure to seize certain

evidence, and its subsequent destruction, did not arise to a constitutional violation. In Newsome,

the defendants were convicted of illegally cutting down certain protected trees in a National

Forest. Federal investigators found logs from the protected trees at three local lumber mills. The

logs were photographed, and slabs (or “cookies”) of each log were taken and preserved and used

as evidence. The full logs were not seized by the federal investigators, however, and the logs

were later milled into veneer by the lumber mills. The defendants contended that the

government’s failure to seize and preserve the full logs constituted spoliation that violated their

Due Process rights.

       The Fourth Circuit rejected that contention because the defendants had access to the

photographs, the cookies (which were representative samples of the trees and logs), mill records,

and mill employees, all of which was deemed to constitute “comparable evidence” that was

reasonably available to defendants. Newsome, 322 F.3d at 334. The Government makes a

similar argument in this case, arguing that it took control of the Carpathia Servers only

temporarily pursuant to a search warrant and obtained certain samples of the data, which it will

preserve, but it disclaims any duty to seize and preserve the entirety of the data on those servers.

[D.E. 56 & 82.] That reasoning is fallacious in the circumstances of this action because the

samples obtained are not representative of all the data on those servers—only data that

(apparently) is consistent with the Government’s theory. Having seized control of the Carpathia

Servers in order to forensically copy certain portions of the data, the Government has triggered



                                                -8-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 9 of 27 PageID# 2693




its duty to preserve the remaining data because it “might be significant” to the defense in this

action, and “comparable evidence” cannot be obtained by reasonably available alternative

means. Each datum is unique, and unlike the cookies taken in Newsome, the government’s

seizure of a portion of the data from the Carpathia Servers is not a representative sample of the

entire data set.

        Furthermore, apart from the Due Process Clause basis for requiring the government to

preserve the Carpathia Servers, the Court has “inherent discretionary power to issue orders in aid

of [its] jurisdiction.” Orbe v. True, 201 F. Supp. 2d 671, 676 (E.D. Va. 2002). “And, such an

order may extend, ‘under appropriate circumstances, to persons who, though not parties to the

original action or engaged in wrongdoing, are in a position to frustrate … the proper

administration of justice.” Id. (quoting United States v. New York Tel. Co., 434 U.S. 159, 174

(1977)). Such an order to preserve evidence related to the defendant’s case cannot be open-

ended, but must describe the proposed evidence with particularity—which is satisfied here, of

course, because the evidence is the data on the Carpathia Servers.

        As alleged in the Superseding Indictment, the data on the Carpathia Servers would be a

critical source of evidence to prove or disprove guilt [e.g., D.E. 34, ¶ 5; ¶¶ 25-26 (describing how

content was uploaded to or downloaded from “servers,” including Carpathia Servers]. This

source of evidence came under the control of the Government, who made selected copies of it,

but since then the Government has tried to disclaim any responsibility for seizing and preserving

this data. Respectfully, as pointed out by the Supreme Court, assessing the importance of lost

evidence is extraordinarily difficult. Trombetta, 467 U.S. at 487 (“Whenever potentially

exculpatory evidence is permanently lost, courts face the treacherous task of divining the import

of materials whose contents are unknown and, very often, disputed. … Moreover, fashioning



                                                -9-
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 10 of 27 PageID# 2694




 remedies for the illegal destruction of evidence can pose troubling choices.”) (citation omitted).

 Thus, it is much easier to preserve this evidence now than to try to fashion evidentiary remedies

 later.

          B.     Rule 16 Considerations

          While the Government contends that Rule 16 is irrelevant because the case has not

 proceeded to the discovery phase, yet [e.g., D.E. 56 at 4-5]. That misses the point. In light ot the

 Government’s duties during the discovery phase, the Government is not permitted to allow the

 destruction of the evidence beforehand.

          Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure provides that, "[u]pon a

 defendant's request, the government must permit the defendant to inspect . . . tangible objects,

 buildings or places . . . if the item is within the government's possession, custody, or control and:

 (i) the item is material to preparing the defense; (ii) the government intends to use the item in its

 case-in-chief at trial; or (iii) the item was obtained from or belongs to the defendant."

 Megaupload respectfully submits that the Carpathia Servers are now in the Government’s

 control, and must be preserved for later production under Rule 16.

                 1.      Control of the evidence by the Government.

          As to the issue of “possession, custody or control” of the Megaupload data, the court in

 United States v. Stein, 486 F.3d 350 (2d Cir. 2007) reviewed the history of the phrase in Civil

 Rule 34, Criminal Rule 16 and Civil Rule 45 and concluded that a uniform construction was

 appropriate. 488 F.3d at 361. At 361-362, the Stein court reviewed numerous authorities:

          One noted commentator aptly summarized the scope of the obligation:

            "Legal ownership of the requested documents or things is not determinative, nor is
          actual possession necessary if the party has control of the items. Control has been defined
          to include 'the legal right to obtain the documents requested upon demand.' The term
          'control' is broadly construed." [footnote: 7 MOORE'S FEDERAL PRACTICE §

                                                 - 10 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 11 of 27 PageID# 2695




        34.14[2][b], at 34-63 to 34-64 (3d ed. 2006) (footnotes omitted); numerous supporting
        citations omitted.]

        These principles have been applied in a wide variety of situations. …

        Stein also quoted from United States v. Kilroy, 523 F. Supp. 206, 215 (E.D. Wis. 1981)

 where the court found that the Government had constructive control over evidentiary documents

 because it was cooperating with defendant’s former employer.

        I see no objection to an order requiring the Government, as the defendant asks, to use its
        "best efforts" to obtain from Standard Oil all of the documents in its possession which
        came out of the defendant's former office. The Government has 30 days to try to obtain the
        records. Standard Oil is admittedly not a party to this suit and has no obligation to turn over
        any of its records to the defendant or to the Government except at trial pursuant to a valid
        subpoena. Since Standard Oil is cooperating with the Government in the preparation of the
        case and is making available to the Government for retention in the Government's files any
        records which Standard Oil has and which the Government wants, however, it is not
        unreasonable to treat the records as being within the Government's control at least to the
        extent of requiring the Government to request the records on the defendant's behalf and
        to include them in its files for the defendant's review if Standard Oil agrees to make them
        available to the Government. (Emphasis added.)

        A similar result was reached in United States v. Skedde, 176 F.R.D. 258, 262 (W.D. Ohio),

 which also cited Kilroy (emphasis added):

        In United States v. Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989), the Ninth Circuit stated, in
        a case involving a request for records of a nationwide investigation of fraudulent tax
        shelters by a defendant charged with mail fraud in conjunction with a scheme involving
        such shelters, that "the scope of the government's obligation under Rule 16(a)(1)(C) should
        turn on the extent to which the prosecutor has knowledge of and access to the documents
        sought by the defendant in each case." The case was remanded for a hearing to determine
        whether the defendant had been deprived of discovery of documents "which the
        prosecution had knowledge of and access to." Id.
        Because the records at issue here once were available to the government, there is greater
        justification to call on it to retrieve them than was the case in Kilroy. On the other hand,
        the records involved in this case appear to be considerably more extensive than the limited
        category of materials at issue in Kilroy. Nonetheless, it appears appropriate to direct the
        government to undertake forthwith to retrieve any documents that once were in its
        possession but remained with LOF and which are ‘material to the preparation of the
        defense’ and provide those materials as promptly as reasonably possible to the defendants.




                                                - 11 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 12 of 27 PageID# 2696




          2.     Materiality is shown.

          Defendants are entitled to discovery of its data on the QTS/Carpathia servers because

 “(iii) the item was obtained from or belongs to the defendant.” Criminal Rule 16(a)(1)(E)(3).

          Perhaps more important here, the data is essential to trial preparation and proof on

 numerous critical issues and is, therefore, material under Criminal Rule 16(a)(1)(E)(1). Such

 materiality is manifest because the Megaupload server data “will play an important role in

 uncovering admissible evidence, aiding witness preparation, corroborating testimony, or

 assisting impeachment or rebuttal.” United States v. Stein, 486 F.3d 350, 357 (2d Cir. 2007),

 quoting from United States v. Lloyd, 301 U.S. App. D.C. 186, 992 F.2d 348, 351 (D.C. Cir.

 1993).

          The jury will be asked to make decisions on the totality of all the evidence relating to

 issues of knowledge, intent and willfulness. The whole range of Defendants’ operations and user

 conduct bear on such issues. Defendants have repeatedly articulated legal and factual problems

 with the Government’s case that if not decided as a matter of law in defendants favor will require

 specific factual determinations. Defendants anticipate requesting special verdict forms with

 numerous interrogatories that will implicate evidentiary constellations extending over large-scale

 domains.

          Direct criminal infringement requires willful infringement of a valid copyright. 17

 U.S.C. § 506(a)(1); United States v. Teh, 535 F.3d 511, 517 n.4 (6th Cir. 2008). “Willfulness”

 under the criminal copyright statute means a “voluntary, intentional violation of a known legal

 duty.” United States v. Moran, 757 F. Supp. 1046, 1049 (D. Neb. 1991) (quoting Cheek v.

 United States, 498 U.S. 192 (1991)). Defendant must have acted with knowledge that his

 conduct was unlawful. Safeco Insurance Co. of America v. Burr, 551 U.S. 47, 58 n.9 (2007). See



                                                 - 12 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 13 of 27 PageID# 2697




 also 17 U.S.C. § 506(a)(2) (“[E]vidence of reproduction or distribution of a copyrighted work, by

 itself, shall not be sufficient to establish willful infringement of a copyright.”); 4 M. Nimmer &

 D. Nimmer, Copyright, § 15.01[A][2] (2011).

        Copyright infringement is assessed on a work-by-work basis. Defendant must have had

 the specific intent to commit copyright infringement as to each individual work. See, e.g.,

 Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19, 34 (2d Cir. 2012) (in the more lenient civil

 context, knowledge level of defendant must be assessed as to each and every file alleged to be

 part of defendant’s mass infringement); Viacom Int’l Inc. v. YouTube, Inc., 940 F. Supp. 2d 110,

 115-123 (S.D.N.Y. 2013) (ruling that plaintiffs had no “clip-by-clip” evidence to prove

 knowledge of infringement for any of the 63,060 video clips-in-suit).

        Other charges against Defendants appear to allege secondary liability for criminal

 copyright infringement that Congress has declined to create. See Inducing Infringement of

 Copyrights Act of 2004, S. 2560, 108th Cong. (2003). “Congress has finely calibrated the reach

 of criminal copyright liability, and therefore, absent clear indication of Congressional intent, the

 criminal laws of the United States do not reach copyright-related conduct.” 4 M. Nimmer & D.

 Nimmer, Copyright, § 15.05[A], 15-34 (2011). “[I]t is implausible to suppose that Congress

 intended to combat the problem of copyright infringement by the circuitous route hypothesized

 by the Government.” Dowling v. United States, 473 U.S. 207, 220-221 (1985).

        Defendants are charged with operating a system that facilitates infringement. But direct

 infringement requires more than “mere ownership of a machine used by others to make illegal

 copies”—there “must be actual infringing conduct.” CoStar Group, Inc. v. LoopNet, Inc., 373

 F.3d 544, 549-50 (4th Cir. 2004); see also ALS Scan, Inc. v. RemarQ Communities, Inc., 239

 F.3d 619, 622 (4th Cir. 2001), quoting H.R. Rep. No. 105-551(I), at 11 (1998)); Cartoon



                                                - 13 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 14 of 27 PageID# 2698




 Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d 121, 131-32 (2d Cir. 2008). Conspiracy

 allegations fail to overcome these defects. Conspiracy is not found in the four corners of the

 criminal copyright statute and the Government ought not be permitted to add it on under the

 reasoning in Dowling and its progeny.

        The Government must prove layers of willfulness, knowledge and intent. The

 Government fails to properly allege the elements of primary willful copyright infringement by

 users and without primary willful infringement there can be no secondary willful infringement.

        The higher mens rea standard of willfulness is applied to a charge of conspiracy to

 commit copyright infringement. Ingram v. United States, 360 U.S. 672, 678 (1959); United

 States v. Brown, 581 Fed. Appx. 216, 217 (4th Cir. 2014). The Superseding Indictment does not

 allege an agreement between Defendants and Megaupload users but only among the Defendants

 themselves. See United States v. Burgos, 94 F.3d 849, 860 (4th Cir. 1996) (conspiracy requires

 “a specific agreement to commit a specific crime” (internal citation and quotation marks

 omitted)); United States v. Gengler, 2009 WL 5549225, at *8-9 (E.D. Va. Oct. 23, 2009)

 (conspiracy requires an agreement to violate the law).

        The superseding indictment and related documents appear weak on supporting the claims

 with geo-location data on where data transfers and events occurred and the who, what, when,

 where, and how of the alleged copyright infringement and automated processes.

        Absent an expression of Congressional intent, federal laws do not apply extraterritorially.

 Morrison v. National Australia Bank, 130 S. Ct. 2869 (2010). The Fourth Circuit and numerous

 sister circuits have confirmed that the Copyright Act does not apply to conduct occurring abroad.

 Nintendo of America, Inc. v. Aeropower Co., 34 F.3d 246, 249 n.5 (4th Cir. 1994); Subafilms,

 Ltd. v. MGM-Pathe Commc’ns Co., 24 F.3d 1088, 1095 (9th Cir. 1994) (en banc); Palmer v.



                                                - 14 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 15 of 27 PageID# 2699




 Braun, 376 F.3d 1254, 1258 (11th Cir. 2004); Robert Stigwood Group Ltd. v. O’Reilly, 530 F.2d

 1096, 1101(2d Cir. 1976).

        Megaupload wants to show that it provided a legitimate cloud storage site, used by

 entertainment studios, colleges and government officials for official business. Data on the

 servers will show that Megaupload maintained strong and effective notice and takedown “safe

 harbor” policies and practices to curb infringement. Such showings will both defeat prosecution

 charges that require proof of a “willfulness” mens rea and also raise a defense of “dual use

 technology” that “is capable of substantial non-infringing uses” and protected in the civil context

 under Sony Corp. of America v. Universal City Studios, Inc., 464 U.S. 417. 439 (1984).

 Evidence needed for such showings is in the Megaupload server data and not just the portions

 cherry picked by the Government. From information provided, it appears that the Government

 has preserved less than 1% of the data on the Megaupload servers. See D.E. 99 at p. 2.

        Defendants need access to all the data for forensic analysis that will show the software

 code, automated systems, direct delete processes, content servers, and lack of mens rea in

 Megaupload cloud storage operations, notwithstanding the Government’s emphasis on alleged

 cherry picked infringements. Evidence provided by the Government in extradition proceedings

 in New Zealand states that Megaupload users had uploaded 206 million total unique files as of

 January 19, 2012. Of the 14.9 million unique video files stored on servers located within the

 United States, roughly 42% had never been viewed. Megaupload is entitled to do their own

 analysis from the raw forensic data.

        Log files and databases on the servers may show that copyright owners, their agents or

 government agents uploaded files alleged to have infringed. Server data will provide

 geographical locators for alleged infringements and act to provide evidence of extraterritorial



                                               - 15 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 16 of 27 PageID# 2700




 alleged infringements that fail as a matter of law. Server data will show that charges of

 infringement of particular works are outside of an applicable statute of limitations, are fair use,

 or otherwise fail on multiple elements.

        Indeed, the United States-New Zealand treaty gives a New Zealand the benefit of New

 Zealand’s three year statute of limitations for criminal copyright infringement for the New

 Zealand accused at s instead of the five years under US law argued by the Government (see

 Treaty on Extradition between United States and New Zealand, 1970 U.S.T. LEXIS 470; 22

 U.S.T. 1.) This will be a point of legal and factual contention at any trial in the United States.

        C.    The Court Should Exercise Inherent Powers to Preserve Evidence and
 Protect Due Process Rights of Defendants.

         “[A] federal court has the inherent power to order the preservation of evidence in the

 hands of a party before the Court.” United States v. Salad, 779 F. Supp. 2d 503, 507 (E.D.Va.

 2011) (hereinafter “Salad”); accord Orbe v. True, supra. The case of Salad involved the yacht

 “Quest,” the site of high-seas piracy, hostage-taking and murder. The court ordered the

 Government to maintain the yacht and make it accessible to defense counsel and experts. In

 support of the order, Salad cited, inter alia, The Pueblo of Laguna v. United States, 60 Fed. Cl.

 133, 135 (Fed. Cl. 2004) for "the inherent powers afforded Article III courts to order the

 preservation of relevant evidence."

        Constitutional rights of criminal defendants include access to exculpatory evidence.

  Kyles v. Whitley, 514 U.S. 419, 432 (1995); Brady v. Maryland, 373 U.S. 83 (1963). Access

  must be given if “favorable evidence could reasonably be taken to put the whole case in such




                                                 - 16 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 17 of 27 PageID# 2701




     a different light as to undermine confidence in the verdict.” Kyles, supra, 514 U.S. at 435

     See also United States v. Bagley, 473 U.S. 667, 682 (1985); Brady, 373 U.S. at 87-88.6

           The novelties and complexities of this case require the preservation of the Megaupload

     server evidence. Megaupload has not been served in the criminal case and the court has

     deferred ruling on the motion to dismiss while noting that failure to serve can become

     improperly prejudicial at some point in time. Forfeiture rulings for Megaupload and other

     defendants are on appeal. Similar and perhaps substitutionary data in the Netherlands has

     been destroyed.

           The Government apparently bases charges of conspiracy on underlying acts of criminal

     copyright infringement committed by individual users, but there is no evidence of actual

     agreements with the perpetrators of such crimes. Indeed, such individual agreements would

     have been unlikely because Defendants had a constant stream of demands on their time and

     attention while they tried to shape and control a surprisingly successful global cloud storage

     system as a lawful Online Services Provider. Defendants need the server data to properly

     portray their wide-ranging worldwide operations and will need access to all the evidence in

     order to do so.

          D.     Civil Rules Governing “Electronically Stored Information” Require
     Preservation of Evidence for the Forfeiture Case.

           The duty to preserve evidence “arise[s] not only during [civil] litigation but also

     extends to that period before the litigation when a party reasonably should know that the


 6
  “A prosecution that withholds evidence on demand of an accused which, if made available,
 would tend to exculpate him or reduce the penalty helps shape a trial that bears heavily on the
 defendant. That casts the prosecutor in the role of an architect of a proceeding that does not
 comport with standards of justice, even though, as in the present case, his action is not ‘the result
 of guile,’ to use the words of the Court of Appeals.”

                                                  - 17 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 18 of 27 PageID# 2702




  evidence may be relevant to anticipated litigation.” Silvestri v. General Motors, 271 F.3d

  583, 591 (4th Cir. 2001). Once such duty arises, a party must take reasonable steps to

  preserve “what it knows, or reasonably should know is relevant in the action, is reasonably

  calculated to lead to the discovery of admissible evidence, is reasonably likely to be

  requested during discovery and/or is the subject of a pending discovery request.” Wm T.

  Thompson Co. v. General Nutrition Corp., 593 F. Supp. 1443 (C.D. Cal. 1984).

        As stated in the DOJ’s Asset Forfeiture Policy Manual 2013 maintained at

  http://www.justice.gov/sites/default/files/criminal-afmls/legacy/2014/05/23/policy-manual-

  2013rev.pdf and accessed on August 23, 2015:

        There is a legal duty to preserve potentially relevant evidence once a party reasonably
        anticipates litigation, whether the United States is the plaintiff or defendant. Zubulake
        v. UBS Warburg LLC, 220 F.R.D. 212, 218 (S.D.N.Y. 2003); Fed. R. Civ. P. 37,
        Advisory Committee Note, 2006 Amendments, Subdivision (f). Although a litigation
        hold is the primary method of preservation, reasonableness and good faith are the
        ultimate standards by which an alleged breach of the duty to preserve is judged. (p.
        157.)
        The obligation to preserve evidence arises when a party has notice that evidence is
        relevant to litigation. (p. 158)
        The advising DOJ attorney should not make the decision to lift a litigation hold until
        after the time for filing direct appeals in the case (and related or ancillary proceedings)
        or a petition for a writ of certiorari has passed. (p. 162)

        The original Indictment [D.E. 1, ¶¶ 90-99], the search warrants [D.E. 11-16] and the

 Superseding Indictment, supra, were clearly aimed at forfeiture of all of Megaupload’s assets and

 revenue for alleged criminal copyright infringement. Such claims were necessarily alleged in the

 broadest possible way, while ignoring the context of new developments in cloud storage

 industries and difficulties of proof that result from remote geographical locations and from data

 maintained and organized for technological purposes rather than for legal purposes.




                                                - 18 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 19 of 27 PageID# 2703




        As previously noted, it appears that the Government has preserved less than 1% of the

 data on the servers. [See D.E. 99 at p. 2.] Manifestly, the 99% that has not been preserved

 contains “material” evidence as set forth above.

        The record reflects the extraordinary importance of this data to Megaupload defendants,

 to its users and to online communities that need guidance about permissible and impermissible

 online activities. Indeed, the forfeiture case, whether reversed on appeal or not, due to Mona

 Dotcom’s claims, deal with tracing revenues arising from alleged infringements which cannot be

 competently done in a fair adversarial manner if the US and EU servers have been discarded. All

 of Megaupload’s servers need data preservation. For example the software code demonstrates a

 copyright neutral technology. The database servers can show safe harbor compliance. The web

 servers can show the copyright neutral nature of the interface design. The content servers in

 combination with other data can show fair use and substantial non-infringing uses and users.

        Defendants and Carpathia worked out an arrangement for data preservation that would

 have protected legitimate ESI usage and litigation hold interests but, in contradiction to the

 cooperation in data preservation as provided for by law and reasonable practices mandated by

 courts across the United States the DOJ blocked the agreement and provided no alternative

 preservation solution. (The Sedona Conference® Cooperation Proclamation: Resources For The

 Judiciary https://thesedonaconference.org/cooperation-proclamation). The Megaupload server

 data in the Netherlands was permitted by the DOJ to be destroyed when they knew or should

 have known that such evidence was highly relevant to the criminal action and the reasonably

 anticipated civil forfeiture action. Unfair prejudice through loss of important evidence has

 occurred and will continue to occur unless the court intervenes and will adversely impact

 defendants in this criminal case, the civil forfeiture case, and in pending civil cases where



                                                - 19 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 20 of 27 PageID# 2704




 defendants are being sued, e.g., by the Motion Picture Association of America (MPAA) and the

 Recording Industry Association of America (RIAA).

        Consequences of loss of evidence are illustrated by Trigon Ins. Co. v. United States, 204

 F.R.D. 277 (E.D. Va. 2001), where sanctions were imposed on the United States for spoliation.7

 In resisting discovery, the United States argued that documents maintained by its “consultant,”

 Analysis Group/Economics ("AGE"), were not subject to discovery. When that argument was

 rejected, it was revealed that evidence had been destroyed relating to AGE and experts it

 retained. The court reiterated policy reasons that are also applicable here (Id. at 284-285):

         "the [spoliation] inference stems from the 'common sense observation that a party who
        has notice that [evidence] is relevant to litigation and who proceeds to destroy [evidence]
        is more likely to have been threatened by [that evidence] than a party in the same position
        who does not destroy the [evidence].'" Anderson v. National Railroad Passenger
        Corporation, 866 F. Supp. 937, 945 (E.D. Va. 1994) (quoting Nation-Wide Check Corp.
        v. Forest Hills Distributors Inc., 692 F.2d 214, 218 (1st Cir. 1982)). The destruction of
        evidence can lead to manifest unfairness and injustice, for it increases the risk of an
        erroneous decision on the merits of the underlying cause of action and can increase the
        costs of litigation as parties attempt to reconstruct the destroyed evidence or to develop
        other evidence that may be less persuasive, less accessible or both.

        The court further ruled that Trigon could recover its costs and attorney fees associated

 with the motion, to be determined after trial. (204 F.R.D. 291, n. 11 and referencing text.)

 Trigon was later awarded fees and expenses in the amount of $ 179,725.70. Trigon Ins. Co. v.

 United States, 234 F. Supp. 2d 592, 595 (E.D.Va. 2002); see also Aaron v. Kroger L.P., 2011

 U.S. Dist. LEXIS 111004 (E.D. Va. 2011) (“In the instant case, Kroger was on notice of

 Plaintiff's request that the evidence be preserved. Kroger also knew or should have known that

 the video footage — whether or not it showed Plaintiff's actual fall — might later prove relevant,


 7
   Spoliation is defined at 204 F.R.D. 284, e.g., "Spoliation is the destruction or significant
 alteration of evidence, or the failure to preserve property for another's use as evidence in pending
 or reasonably foreseeable litigation,” citing West v. Goodyear Tire & Rubber Co., 167 F.3d 776,
 778 (2nd Cir. 1999).

                                                - 20 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 21 of 27 PageID# 2705




 such that preserving the tapes was clearly the more prudent course of action.”); Cytec Carbon

 Fibers LLC v. Hopkins, 2012 U.S. Dist. LEXIS 173247 (D.S.C. 2012); Beaven v. United States

 DOJ, 622 F.3d 540 (6th Cir. 2010) (government officials wrongfully disclosed a file folder

 containing private information and then destroyed the file folder); and United States v. CBS, Inc.,

 103 F.R.D. 365 (C.D. Cal. 1994) (granting in part non-party movie studios’ motion to recover

 $2,000,000 cost of responding to discovery subpoenas, including costs for personnel for time

 spent on document production, equipment, supplies, transportation, alterations of facilities to

 provide work space for the document production, and accountants' fees for time spent responding

 to subpoenas).

       E.     The Court Should Refer the Matter to a Magistrate Judge for a
 Determination of the Most Expeditious and Economical Method of Preservation. The
 Government Should Be Required to Bear the Cost.

        Technological development proceeds at a rapid pace. Servers put into service before

 January 2012 will have a greatly diminished value in 2015-2016. Transferring the Megaupload

 data to new servers would require expensive hardware and many hours of labor. Defendants

 submit that the most likely best use for the servers now being stored by QTS/Carpathia will be as

 a forensic database that is maintained intact, catalogued and explored. Important materials can

 be copied for purposes of the parties while the “best evidence” remains unaltered.       However,

 such possibilities are subject to specific facts such as preserving the integrity of sensitive data

 storage from data loss over time and forensic access that are outside the scope of this motion.

 Reference to a magistrate judge for ESI cooperation is appropriate.

        Defendants do not have assets necessary to preserve the data, to provide access to the

 data, to transfer the servers to a new storage facility or to compensate QTS/Carpathia for their

 past storage of the servers. Defendants submit that the costs for these undertakings should be



                                                 - 21 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 22 of 27 PageID# 2706




 borne by the Government who manufactured the problem. United States v. Salad, supra; The

 Pueblo of Laguna, supra, at 60 Fed. Cl. 140 (“In the court's view, the better course is to

 reemphasize that documents should not be destroyed and create incentives to ensure that

 happens. … The Department of the Interior ("DOI") shall move inactive Pueblo of Laguna

 records from the BIA Southwest Regional Office to the Office of Trust Records ("OTR"), in

 Albuquerque, New Mexico, at which location said inactive records shall be made available to

 plaintiff for purposes of inspection.”); Trigon Ins. Co. v. United States, supra; United States v.

 CBS, Inc., supra.

                                             Conclusion

        For the foregoing reasons, defendant Megaupload, Ltd. respectfully requests that the

 Court grant them leave to specially appear for the limited exigent purpose of responding to the

 instant motion.

        Defendants, like QTS/Carpathia, are frustrated by the exercise of control on the part of

 the Government that has blocked a simple resolution of issues involved in preservation of the

 crucial Megaupload server data. Unlike QTS/Carpathia, Defendants’ frustration is not grounded

 in only monetary distress. The Government is burdened with a weak case to present in a

 criminal trial and it wants to prevent a strong defense. The Government cannot criminally and

 civilly indict all the revenues arising out of all the global users of the Megaupload cloud storage

 site in the largest copyright case in history while at the same time cherry picking a sliver

 evidence to retain for trial and throwing away the rest to manifestly prevent the mounting of a

 fair defense.

        Therefore, defendants ask the Court to protect their rights under Criminal Rule 16 and the

 other rules and case law cited herein and to exercise its inherent powers in ordering the



                                                 - 22 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 23 of 27 PageID# 2707




 preservation of the Megaupload data for the multiple related litigations. Preservation should be

 carried out by purchase of QTS/Carpathia servers and their transfer to facilities that will provide

 access to the data for the benefit of defendants’ counsel and experts, the Government and others

 authorized by the Court. The Government should bear the cost of such purchase and

 preservation. Details should be worked out by reference to a magistrate judge.

                                                         Respectfully submitted,

                                                         /s/ Craig C. Reilly
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                                                         Counsel for Defendant Megaupload Limited




                                                - 23 -
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 24 of 27 PageID# 2708




                               CERTIFICATE OF SERVICE

                 I hereby certify that on August 24, 2015, the foregoing MOTION OF SPECIALLY
 APPEARING DEFENDANT AND INTERESTED PARTY MEGAUPLOAD LIMITED TO FILE
 [PROPOSED] RESPONSE OF DEFENDANT MEGAUPLOAD LTD SUPPORTING AND
 SUPPLEMENTING THE RENEWED MOTION FOR PROTECTIVE ORDER BY NON-
 PARTY QTS/CARPATHIA HOSTING, INC. RE MEGAUPLOAD SERVER EVIDENCE, was
 filed and served electronically by the Court’s CM/ECF system upon all registered users.

                                                 /s/ Craig C. Reilly
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                                                 111 Oronoco Street
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Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 25 of 27 PageID# 2709



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                                                                                                                   WRITER'S INTERNET ADDRESS
                                                                                                          williamburck@quinnemanuel.com
 July 3, 2013

 The Honorable John F. Anderson
 United States Magistrate Judge
 United States District Court for the Eastern District of Virginia
 Albert V. Bryan U.S. Courthouse
 401 Courthouse Square
 Alexandria, VA 22314

 Re: United States v. Kim Dotcom, et al., Case No. 1: 12-cr-3

 Dear Judge Anderson:

          We are writing to alert the Court to the recent revelation that on February 1, 2013, LeaseWeb
 deleted all data from 630 servers previously leased to Megaupload in the Netherlands. ) This
 wholesale destruction of millions of Megaupload users' personal files was in direct contravention of
 Megauploacfs and Electronic Frontier Foundation's (EFF) repeated requests to LeaseWeb for data
 preservation pending resolution of the U.S. criminal case. Specifically, in a letter dated April 3,
 2012, EFF wrote to Leaseweb"to formally request that [LeaseWeb] preserve that material both for
 purposes of contemplated future litigation and as a matter of obligation and courtesy to the innocent
 individuals whose materials have unfortunately been swept up into this case" EFFs letter further
 requested "that anyone with access to our client's materials, or evidence potentially relevant to an
 action filed on behalf of our client or other similarly situated third parties, immediately institute a
 litigation hold that covers all reasonably potentially relevant evidence, e.g., the complete set of data
 on servers used by Megaupload" Similarly, on March 1, 2012, Megaupload asked LeaseWeb to
 confirm"that it will preserve the Megaupload data;'noting that"this request is supported by multiple

         '    Further information regarding LeaseWeb's deletion of server data is available at
http://torrentfreak.com/leaseweb-wipes-all-megaupload-user-data-dotcom-outraged-130619/ and
http://torrentfreak.com/dotcom-reveals-megaupload-data-massacre-emails-plans-to-sue-leaseweb-
130626/.

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       NEW YORK 1 51 Madison Avenue, 22nd Floor, New York, New York 10010-1601          1 TEL (212) 849-7000 FAx (212) 849-7100
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                                                                EXHIBIT A
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 26 of 27 PageID# 2710



 axiomatic reasons including that it is relevant evidence in a pending criminal case in the US,
 potential civil case(s), and destruction of such data will interfere with the possible return of such data
 to consumers'

          In addition to destroying petabytes of Megaupload user data, Leasewebs actions have
 impaired our clients' defense, as the servers contained vast amounts of potentially exculpatory
 evidence directly relevant to the U.S. criminal case. While LeaseWeb's deletion of relevant evidence
 in the face of explicit preservation requests is inexcusable, the United States is equally culpable. The
 Government was plainly on notice of the need to preserve the LeaseWeb servers. 3 As Megaupload
 has long maintained, by freezing the Defendants' assets and denying Defendants access to or
 possession of the servers, the Government has exercised de facto control over the servers and is
 therefore in constructive possession of them. Under Brady v. Maryland, 373 U.S. 83 (1963) and its
 progeny, the Government had an affirmative duty to ensure the preservation of the LeaseWeb servers
 and the exculpatory evidence they may have contained. The Government failed to do so.

         The destruction of the LeaseWeb servers demonstrates the urgent need to reach a workable
 solution for data preservation as soon as possible, lest the 1,103 servers currently in Carpathia
 Hostings possession meet the same fate. We therefore respectfully urge the Court to reconvene the
 interested stakeholders and renew negotiations as quickly as the Courts schedule permits.

 Sincerely,



  /%4 6               /,4
 William A. Burck                                         Ira P. Rothken
 Quinn Emanuel Urquhart & Sullivan, LLP                   The Rothken Law Firm


 Enclosures




        2 Copies of the EFF and Megaupload letters are enclosed for the Courts reference.

        ' See, e.g., April 3, 2012 Letter from EFF to LeaseWeb (Dkt. 57); Megauploads Response
 to Emergency Motion for Protective Order by Carpathia Hosting, Inc. (Dkt. 67-1), at 7 n.4 (Like
 Carpathia, Leaseweb is refusing to continue to maintain the servers as of April 13 absent appropriate
 compensation. Megaupload would hope to use its assets upon release by the Court to ensure
 preservation on that front as well'); April 18, 2012 Letter from Megaupload to Jay V. Prabhu, at 2
 (Because a similar problem exists with servers currently maintained by Leaseweb in the Netherlands,
 we hope and envision that the ultimate solution for preservation of the servers held by Carpathia can
 likewise be applied to those in Leasewebs possession). A copy of the April 18, 2012 letter is
 enclosed for your reference.



                                                     2
                                             EXHIBIT A
Case 1:12-cr-00003-AJT Document 221-1 Filed 08/24/15 Page 27 of 27 PageID# 2711



 cc:   The Honorable Liam GGrady, United States District Judge
       Jay V. Prabhu, Assistant United States Attorney, counsel for the United States
       Marc J. Zwillinger, counsel for Carpathia Hosting, Inc.
       Julie P. Samuels, counsel for Kyle Goodwin
       Paul M. Smith & Julie M. Carpenter, counsel for Motion Picture Association of America
       W. Clifton Holmes, counsel for Valcom, Inc. and Microhits, Inc.




                                      EXHIBIT A
